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1                                      UNITED STATES DISTRICT COURT

2                                          DISTRICT OF NEVADA

3                                                      ***

4

5     UNITED STATES OF AMERICA,

6                         Plaintiff,                      2:15-cr-00266-LDG-VCF
                                                          ORDER
7     vs.
      TIMOTHY MCPHERSON,
8
                           Defendant.
9
            Before the court is the Motion to Withdraw as Counsel of Record (#75).
10
            IT IS HEREBY ORDERED that a hearing on the Motion to Withdraw as Counsel of Record (#75)
11
     is scheduled for 10:00 a.m., March 11, 2016, in courtroom 3D.
12
            The U.S. Marshal is directed to transport defendant to and from the hearing.
13
            DATED this 23rd day of February, 2016.
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                                                                CAM FERENBACH
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                                                                UNITED STATES MAGISTRATE JUDGE
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